The Honorable Ronald B. Leighton

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WESTERN DISTRICT OF WASHINGTON AT TACOMA [
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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WASHINGTON

AT TACOMA
FARRELL BRAYER No. 06-5291 RBL
Plaintiff, STIPULATION & ORDER OF DISMISSAL
WITH PREJUDICE

Vv.

ST. CLARE HOSPITAL, FRANCISCAN
HEALTH SYSTEMS, SERVICE
EMPLOYEES INTERNATIONAL UNION
LOCAL 1199 NORTHWEST, SERVICE
EMPLOYEES INTERNATIONAL UNION
LOCAL 6 STAFF UNION

Defendants.

Pursuant to Federal Rule of Civil Procedure 41(a)(1\(ii), plaintiff Farrelt Brayer and
defendants St. Clare Hospital (“SCH”), Franciscan Health Systems (“FHS”), Service Employees
International Union Local 1199 (“SEIU 1199NW”) and Service Employees International Union
Local 6 Staff Union (“SEIU Local 6”) hereby stipulate through their respective counsel of record
to dismissal of the pending litigation with prejudice and without an award of attorneys’ fees or
costs to any party.
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STIPULATION & ORDER OF DISMISSAL WITH PREJUDICE- 1
Case No. C06-529 1 RBL

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St. Clare Hospital and
Franciscan Health Systems

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‘Si Paul Drachiler
Paul Drachler, WSBA No. 8416 |
Attorneys for Defendants
SEIU 1199NW and SEIU Local 6

ORDER OF DISMISSAL WITH PREJUDICE
' Pursuant to the parties stipulation and Federal Rule of Civil Procedure 41 (a)(1)(ii), the
above-captioned action is hereby DISMISSED WITH PREJUDICE. Each party is to bear its

own attorneys’ fees and costs.

DATED this hts of June, 2007.
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The Honorable Ronald B! Leighton

STIPULATION & ORDER OF DISMISSAL WITH PREJUDICE- 2
Case No. CO06-5291 RBL

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